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UNITED STATES DISTRICT COURT
NORTI-IERN DISTRICT 0F GEORGIA

PROBATION OFFICE
900 U.S COURTHOUSE
THOMAS W. BISHOP 75 sPRiNG sTREEr s w (404) 215-1950
Cim-:F PRoBA'noN omci.=.k ATLANTA, GEORGIA 303()3-3309 FAX(404) 331-0160

April 3, 2015

The Honorable David G. Larimer
U.S. District Judge
Westem District of New York

RE: Robert J. Amico
DOCKET #: 6:00-CR-06155-022
Response to Request for Earlv Termination

Dear Judge Larimer:

On July 27, 2012, Mr. Amico began his term of supervised release in the Northem District of
Georgia. Mr. Amico has complied with all of his standard and special conditions of supervised
release. Further, a criminal record check revealed no new arrests. Mr. Amico was ordered to pay
$15,544,169.00 in Restitution. As of 03/31/2015, he has paid $286,157.21 and has an outstanding
balance of $15,264,712.94. A financial review verifies that he has made his required monthly
payments of 10% of gross monthly income eamed. Financial documents submitted

Mr. Amico currently resides in Roswell, GA with his daughter and girlfriend He is employed at
the Southem Patio Living in Roswell, GA, which he has maintained since his release onto
supervision

At this time, this officer does not object to Mr. Amico’s request for early termination from
supervised rclease.

Sincerely,

S. Michelle Robinson
U. S. Probation Of‘f`icer

Reviewed By:

 

Donna High
Dm 2494 Apr 3 2015 9:32 AM
Gd$\gn
Donna M. High Dat@

Supv. U. S. Probation Officer

 

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Decision of Judge:

Mree with Probation Oft`icer’s Recommendation "”

[ ] Take Following Action:

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Honorable David G. Larimer
U.S. District Judge

